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501 WEST TENTH STREET ROOM 310 RE:Mdssed documents inquire

FORTl WURTH, TEXAS 76102 CaSe #: 4:18-cv-876»0

December Ath, 2018.
Dear Clerk:
This correspondence has been wrote with the purpose to notify
this your office and the Honorable Court about some missed
documentation not ever received by me at any time by now.

The documents in mention are the following: Document number §
fOne) stamped "filed" copy; Document number 3 (three), Document
number h (four); and Document number 5 (five), all of them out
Of the civil docket of the case number referenced above. Since
l am unfamiliar and in fack lacking of legal understanding, l
believe the obtention of the mentioned missed legal documents
Shall be useful on my efforts of being accurate and reasonable,
notwithstanding my legal abilities limitations.

Thus, f am respectfully requesting the Court throughout this,
the office of the Clerk, to allow me be provided with the respective
missed documentation to continue working in my cause in order
to be easily understood.

I am truly thankfully for your assistance, and anxiously
awaiting for response.

Sincerely.
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‘Arnulfo Rodriguez
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